Case 8:18-bk-08709-RCT Doc 31 Filed 10/09/19 Page1of9

UNITED STATES BANKRUPTCY COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

www.flmb.uscourts.gov

In re: Case No. 8:18-bk-08709-RCT
Chapter 7
Sophia D. Amorginos

Debtor.
/

 

TRUSTEE’S MOTION TO SELL REAL PROPERTY OF THE ESTATE
WITH CONSENT OF SECURED LENDERS
(Property: 31 North Park Avenue, Tarpon Springs, FL 34689)

 

NOTICE OF OPPORTUNITY TO
OBJECT AND REQUEST FOR HEARING

Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of service, plus an additional three days for service if
any party was served by U.S. Mail. You should read these papers carefully and discuss them
with your attorney if you have one. If the paper is an objection to your claim in this bankruptcy
case, your claim may be reduced, modified, or eliminated.

If you object to the relief requested in this paper, you must file a response with the
Clerk of the Court at 801 N. Florida Avenue, Suite 555, Tampa, Florida 33602-3899 and serve
a copy on Carolyn R. Chaney, Chapter 7 Trustee, Post Office Box 530248, St. Petersburg, FL
33747, and any other appropriate persons within the time allowed. If you file and serve a
response within the time permitted, the Court will either schedule and notify you of a hearing,
or consider the response and grant or deny the relief requested without a hearing.

If you do not file a response within the time permitted, the Court will consider that
you do not oppose the relief requested in the paper, will proceed to consider the paper
without further notice or hearing, and may grant the relief requested.

 

 

COMES NOW, Carolyn R. Chaney, Chapter 7 Trustee (the “Trustee”) for the above-

referenced debtor (the “Debtor”), and hereby files this motion (“Motion”) for authority to sell

 

 

certain real property of the estate and pay liens and encumbrances of record from the proceeds

of sale. In support thereof, the Trustee respectfully states as follows:

 
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 2of9

JURISDICTION
1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157
and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2)(A),
(M), (N), and (QO).
2. Venue 1s proper before this Court pursuant to 28 U.S.C. §§1408 and 1409.
3. The basis for the relief requested are 11 U.S.C. §§ 363(b), (f), and (m), Federal

Rules of Bankruptcy Procedure 2002 and 6004.

BACKGROUND
4, On October 11, 2018, the Debtor commenced this case by filing a voluntary
petition for relief under Chapter 7 of the United States Bankruptcy Code (the “Petition Date”).
5. Carolyn R. Chaney is the duly appointed and qualified Chapter 7 Trustee. The
Trustee held and concluded the 341 meeting of creditors on November 15, 2018.
6. The Debtor scheduled a 100% ownership interest in the real property located at
31 North Park Avenue, Tarpon Springs, FL 34689 (the “Property”) and legally described as
follows:
LOT 12, BLOCK D, INNESS PARK, ACCORDING TO THE
PLAT THEREOF, RCORDED IN PLAT BOOK 13, PAGES 1 AND 2,
OF THE PUBLIC RECORDS OF PINELLAS COUNTY, FLORIDA.
7. The Property is encumbered by a first mortgage lien scheduled at $172,500.00
in favor of Nationstar Mortgage LLC d/b/a Champion Mortgage Company, its successors and
assigns (the “Secured Creditor’).

8. The Trustee, after reviewing certain materials, including (without limitation) the

BK Score™, sales analysis report and opinion of value for the Property provided by BK
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 3o0f9

Global Real Estate Services (“BKRES”) and Listing Agent, has determined it to be in the best
interest of the Debtor’s estate and all creditors to negotiate to obtain Secured Creditor’s
agreement and consent (“Consent”) to:

a. sell the Property to whichever third party Trustee determines to have made
the best qualified offer during a public sale approved by the Court;

b. buy the Property from the Debtors’ estate if (and only if) no such offer is
made;

c. release the Mortgage(s) and otherwise waive all claims against the estate
with respect to the Property (including any deficiency claims resulting from
the proposed sale); and

d. agree to a 11 U.S.C. § 506 surcharge to pay all of the expenses associated
with the proposed sale, including the payment of a 6% real estate brokerage
commission to BKRES and Listing Agent and reimbursement of their out-
of-pocket expenses, and provide a carve out for the benefit of allowed
unsecured creditors of the Debtor’s estate.

9. The Secured Creditor has represented and warranted that it possesses a valid,
perfected, enforceable and unavoidable first and second mortgage liens on the Property by
virtue of a promissory note and mortgage recorded in the Official Records, consisting of

principal and interest (the “Secured Creditor Indebtedness”).

RELIEF REQUESTED

10. The Trustee requests the entry of an order pursuant to Section 363 of the
Bankruptcy Code approving the sale of the Property, using the services of BKRES and Listing

Agent, free and clear of all liens, claims, encumbrances, and interests. As a material
Case 8:18-bk-08709-RCT Doc 31 Filed 10/09/19 Page4of9

inducement to the Trustee’s decision to pursue the proposed sale, the Secured Creditor
consents to the Property’s sale and the creation of a carve-out fund (the “Carve-Out Fund”)
that will provide for the costs of this sale to be paid and provide a recovery for the unsecured
creditors.

11. The Trustee has received an offer to purchase the Property for $150,500.00 from
Richard Stecher. Any and all lienholders are hereby on notice that if they believe they are
receiving less than reasonable value for the release of their liens, an objection to this Motion
must be filed with the Court.

12. The Trustee has attached a Settlement Statement that outlines the proposed

distribution of the sales proceeds at closing, as Exhibit “A”.

AUTHORITY TO SELL

13. Pursuant to §363(b)(1) of the Bankruptcy Code, a trustee, after notice and a
hearing, may use, sell or lease property of the estate other than in the ordinary course of
business. Additionally, pursuant to §363(f) of the Bankruptcy Code, the trustee may sell
property free and clear of any interest in such property of an entity other than the estate if (i)
permitted under applicable non-bankruptcy law, (ii) the party asserting such interest consents,
(iii) the interest is a lien and the purchase price of the property is greater than the aggregate
amount of all liens on the property, (iv) the interest is subject of a bona fide dispute, or (v) the
party asserting the interest could be compelled, in a legal or equitable proceeding, to accept a
money satisfaction for such interest.

14. The Trustee, through the services of BKRES and Listing Agent, have listed the
property and accepted an offer that has been approved by the Secured Creditor and will result

in a carve-out for the Bankruptcy Estate of $7,525.00. With the consent of the secured lien
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 5of9

holder to sell the property, the Trustee should be authorized to sell the Property and pay liens
and encumbrances from the sales proceeds.

15. No allegation contained in this Motion or attachments thereto is intended by the
Trustee as an attempt to seek approval of professional fees, trustee fees or costs. Amounts
denoted for fees for benefit of creditors in the instant motion or attachments thereto are for
reference only. Monies collected by the Trustee shall be deposited in an estate account and
will be distributed pursuant to applicable bankruptcy law. Moreover, professional
compensation and Trustee compensation shall be sought by separate application to the Court.

16. Accordingly, under Section 363(f)(2) of the Bankruptcy Code, the Trustee seeks
authority to sell the Property free and clear of all liens, claims, encumbrances, and interests but
otherwise “As-Is, Where-Is” and without representations or warranties of any type given by the
Trustee or her professionals. Notwithstanding that the Trustee does seeks authority to execute
all documents and instruments she deems reasonable, necessary and/or desirable to close the
sale, the only documents that the Trustee shall be required to deliver to close shall be (a)
Trustee’s Deed, and (b) Order Granting Motion to Sell Real Property.

17. The Secured Creditor agrees to pay at closing (1) all outstanding real estate
taxes, including any prorated amounts due for the current tax year; (2) if applicable, the lesser
of any HOA fees accrued post-petition or the equivalent to twelve months’ assessments and (3)
all closing costs excluding professional fees but including State Documentary Stamps for the
entire closing price pursuant to Florida Statute Sections 201.01 and 201.02; (4) the carve out to
the Trustee. Any payments by the Secured Creditor as stated herein shall be subject to any and

all limitations on the Secured Creditor’s liability for any fees and costs under applicable law.
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 6of9

18. This sale will be undertaken by the buyer in good faith. Section 363(m) of the
Bankruptcy Code protects a good faith purchaser’s interest in property purchased from a debtor
notwithstanding that the sale conducted under section 363(b) was later reversed or modified on
appeal.

19. The Trustee asserts that the sale of the Property has utilized a competitive and
transparent marketplace that facilitated an arm’s-length sale without fraud or collusion.
Accordingly, the Trustee respectfully requests that the Court find that the purchaser will be

entitled to the protections of Section 363(m) of the Bankruptcy Code.

CONCLUSION
The Trustee, in the exercise of her business judgment, believes, and therefore avers,
that the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar as
there is otherwise no equity in the Property, and a sale under this motion serves the best
interest of all interested parties, including the Secured Creditor. The Buyer has agreed, subject
to Court approval, to pay to the Trustee the sum of $150,500.00 in exchange for the Property
free and clear of all liens, encumbrances, or interests.
WHEREFORE, the Trustee moves for the entry of an Order:
A. Authorizing the sale of the Property to the purchaser free and clear of all liens,
encumbrances, or interests of any party; and
B. Authorizing the Trustee to take any al! actions and to execute any and all
documents necessary and appropriate to effectuate and consummate the terms of

said sale of the Property free and clear of all liens, encumbrances, or interests,
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 7 of9

including without limitation, executing a deed conveying the interests of the
Debtor or any other party claiming an interest in the Property to the Purchaser;

C. Authorizing the Trustee and any escrow agent upon the Trustee’s written
instruction, to make such disbursements on or after the closing of the sale as are
required by the purchase agreement or Order of this Court, including, but not
limited to: (a) all delinquent real property taxes and outstanding post-petition real
property taxes pro-rated as of the closing with respect to the real property included
among the purchased assets (b) any outstanding Home Owner’s Association fee or
assessment arrearages; and (c) other anticipated closing costs.

D. Determining that all affected interests have been adjudged and declared to be
unconditionally released as to the Property;

E. Determining that the Buyer has not assumed any liabilities of the Debtor;

F. Determining that the Buyer is approved as a buyer in good faith in accordance
with Section 363(m) of the Bankruptcy Code, and that the Buyer is entitled to all
protections of Section 363(m) of the Bankruptcy Code,

G. Waive the 14-day stay pursuant to Rule 6004(h), and

H. Granting the Trustee such other and further relief as is just and proper.

DATED: October 9, 2019. Respectfully submitted,

/s/ Carolyn R. Chaney, Trustee
Post Office Box 530248

St. Petersburg, FL 33747-0248
Telephone: 727-864-985 |

Email: carolyn.chaney@earthlink.net
Case 8:18-bk-08709-RCT Doc31 Filed 10/09/19 Page 8of9

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a copy of the foregoing Motion has been served by U.S.
Mail or electronic delivery on October 9, 2019, to:

Office of United States Trustee, USTP.Region21.ECF@USDOJ.GOV
Debtor: Sophia D. Amorginos, 31 N. Park Avenue, Tarpon Springs, FL 34689

Attorney for Debtor: Steve Bartlett, Esquire, 2150 Seven Springs Blvd., Trinity, FL 34655;
Email: bklosb@gmail.com

Seth Greenhill, Esquire, Attorney for Secured Creditor Nationstar Mortgage LLC d/b/a
Champion Mortgage Company, 6267 Old Water Oak Road, Suite 203, Tallahassee, FL
32312; Email: SGreenhill@padgettlaw.net

Champion Mortgage LLC, 8950 Cypress Waters Blvd., Dallas, TX 75019

Attached Creditor Matrix.

/s/ Carolyn R. Chaney, Trustee
Case 8:18-bk-08709-RCT Doc 31 Filed 10/09/19

Label Matrix for local noticing
113A-8

Case 8:18-bk-08709-RCT

Middle District of Florida
Tampa

Wed Oct 9 13:55:15 EDT 2019
Future Home Realty

13029 W. Linebaugh Ave,

Ste 101

Tampa, FL 33626-4478

(p)BANK OF AMERICA
PO BOX 982238
EL PASO TX 79998-2238

Discover Financial Services
POB 15356
Wilmington, DE 19850-5356

PYOD, LLC

Resurgent Capital Services
PO Box 19008

Greenville, SC 29602-9008

THD/CBNA
POB 6497
Sioux Falls, SD 57117-6497

Carolyn R. Chaney +
PO Box 530248
St. Petersburg, FL 33747-0248

Seth J Greenhill +
Timothy D. Padgett, P.A.

6267 Old Water Oak Road, Suite 203

Tallahassee, FL 32312-3858

Sophia D Amorginos
31 N. Park Ave.
Tarpon Springs, FL 34689-2507

Nationstar Mortgage LLC D/B/A Champion Mortg
Padgett Law Group

6267 Old Water Oak Road

Suite 203

Tallahassee, FL 32312-3858

(p) CHAMPION MORTGAGE COMPANY
PO BOX 619093
DALLAS TX 75261-9093

Hone Depot Credit Services
POB 9001010
Louisville, KY 40290-1010

SYNCB/Stein Mart
BOB 965005
Orlando, FL 32896-5005

Verizon

by American InfoSource as agent
PO Box 248838

Oklahoma City, OK 73124-8838

Steve Bartlett +

Law Office of Steve Bartlett, P.A.
2150 Seven Springs Blvd.

Trinity, FL 34655-3910

Page 9 of 9

BK Global Real Estate Services
Attn: Patrick Butler

1095 Broken Sound Parkway, NW
Suite 100

Boca Raton, FL 33487-3503

Bank Of America
POB 9182238
Dallas, TX

Chase Card
POB 15298
Wilmington, DE 19850-5298

Macys
POB 8218
Mason, OH 45040-8218

Synchrony Bank ~ Care Credit
POB 965036
Orlando, FL 32896-5036

WE DILLARDS
POB 14517
Des Moines, IA 50306-3517

United States Trustee - TPA7/13 +
Timberlake Annex, Suite 1200

501 £ Polk Street

Tampa, FL 33602-3949

The preferred mailing address (p) above has been substituted for the following antity/entities as so specified
by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(£) and Fed.R.Bank.P. 2002 (g) (4).

Bank Of America Visa
POB 982238
El Paso, TX 79998-2234

Champion Mortgage
8950 Cypress Waters Blvd.
Dallas, TX 75019

End of Label Matrix

Mailable recipients 21
Bypassed recipients 0
Total 21
